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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                       )
                                                )
                Plaintiff,                      )       ORDER
                                                )
        vs.                                     )
                                                )       Case No. 1:20-cr-075
Kayla Renee Keyes,                              )
                                                )
                Defendant.                      )


        On August 18, 2020, the Court issued an order conditionally releasing Defendant to her

father on August 19, 2020, for transport to Prairie Recovery Center so that she could commence

treatment. On August 20, 2020, the Pretrial Services Office advised the Court that Defendant had

not reported to Prairie Recover Center as directed.

        Accordingly, the Court vacates its August 18, 2020, order and directs the Clerk’s Office to

issue a warrant for Defendant’s arrest. Upon her arrest, Defendant shall be committed to the custody

of the Attorney General or designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a Court of the United States or on request of an

attorney for the United States, the person in charge of the corrections facility shall deliver Defendant

to the United States Marshal for the purpose of an appearance in connection with court proceedings.

        IT IS SO ORDERED.

        Dated this 20th day of August, 2020.
                                                        /s/ Clare R. Hochhalter
                                                        Clare R. Hochhalter, Magistrate Judge
                                                        United States District Court
